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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

MAXUM INDEMNITY COMPANY,                   )
                                           )
        Plaintiff,                         )
                                           )
v.                                         )        CIVIL ACTION NO.
                                           )        1:18-CV-01236-WSD
COLLIERS INTERNATIONAL –                   )
ATLANTA, LLC; and,                         )
ALEXANDER DEITCH,                          )
                                           )
        Defendants.                        )

     DEFENDANT COLLIERS INTERNATIONAL – ATLANTA, LLC’S
              MOTION TO DISMISS FOR FAILURE
               TO JOIN A PARTY UNDER RULE 19

       Defendant Colliers International – Atlanta, LLC (“Colliers”) files this Mo-

tion to Dismiss for Failure to Join a Party Under Rule 19 under Federal Rule of

Civil Procedure 12(b)(7).

       Plaintiff Maxum Indemnity Company (“Maxum”) filed this declaratory

judgment action regarding insurance coverage for an underlying lawsuit filed by

Mattress Firm, Inc. against the Defendants in Texas state court. Mattress Firm is

a required party to this action pursuant to Fed.R.Civ.P. 19(a), as it has a real and
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substantial interest in the insurance coverage issues present. Maxum must there-

fore join Mattress Firm as a party to this action. If Maxum does not join Mattress

Firm, its Complaint for Declaratory Judgment should be dismissed.

      WHEREFORE, Defendant Colliers International – Atlanta, LLC requests

the Court to order Plaintiff Maxum Indemnity Company to join Mattress Firm,

Inc. as a defendant in this action within thirty days. If the Plaintiff fails to do so,

or if joinder is not feasible, Colliers respectfully requests that the Court dismiss

the action pursuant to Fed.R.Civ.P. 41(b).

      Respectfully submitted, this 18th day of April, 2018.

                                         FELLOWS LABRIOLA LLP

                                         s/Shattuck Ely
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                                         tional – Atlanta, LLC




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                        CERTIFICATE OF SERVICE

      I certify that this day, I electronically filed the foregoing with the clerk’s

office CM/ECF system, which will send email notification to the following coun-

sel of record:

             Jeffrey Melcher, Esq.
             Frank I. Chao, Esq.
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             Suite 2850
             Atlanta, Georgia 30326

      Respectfully submitted, this 18th day of April, 2018.


                                       s/Shattuck Ely
                                       Shattuck Ely




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